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8                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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10      AMIR SITABKHAN, derivatively on        Case No: 8:20-cv-02446-JVS-JDE
        behalf of STAAR SURGICAL
11
        COMPANY,
12                                             ORDER GRANTING
13            Plaintiff,                       STIPULATION FOR
                                               VOLUNTARY DISMISSAL
14            v.                               PURSUANT TO FED. R. CIV. P.
15                                             41(a) AND 23.1(c) WITHOUT
        CAREN L. MASON, DEBORAH                PREJUDICE
16
        ANDREWS, PATRICK F. WILLIAMS,
17      STEPHEN C. FARRELL, JOHN C.    Hon. James V. Selna
18      MOORE, and LOUIS E. SILVERMAN,

19            Defendants,
20
              and
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22      STAAR SURGICAL COMPANY,
23
              Nominal Defendant.
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          ORDER GRANTING STIPULATION FOR VOLUNTARY DISMISSAL
        PURSUANT TO FED. R. CIV. P. 41(a) AND 23.1(c) WITHOUT PREJUDICE
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1           This Court, having considered the Stipulation for Voluntary Dismissal
2     Pursuant to Fed. R. Civ. P. 41(a) and 23.1(c) Without Prejudice (“Dismissal
3     Stipulation”), HEREBY ORDERS as follows:
4           1.     The Dismissal Stipulation is GRANTED. The above-captioned action
5     (the “Action”) is dismissed without prejudice, with all Parties to bear their own
6     fees and costs.
7           2.     Notice of the dismissal of the Action to STAAR Surgical Company
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      (“STAAR”) shareholders is not required as: (i) there has been no settlement or
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      compromise of this Action; (ii) there has been no collusion among the Parties; (iii)
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      no payment has been made or will be paid to any party or their counsel in
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      connection with the voluntary dismissal; (iv) the voluntary dismissal is made
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      without prejudice and therefore will not have any preclusive effect on any other
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      action or STAAR shareholder to pursue claims; and (v) Defendants will not suffer
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      any prejudice as they do not oppose this voluntary dismissal.
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16          IT IS SO ORDERED.
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19    Dated: March 09, 2021
20
21                                         ___________________________________
22                                         HON. JAMES V. SELNA
                                           UNITED STATES DISTRICT JUDGE
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          ORDER GRANTING STIPULATION FOR VOLUNTARY DISMISSAL
        PURSUANT TO FED. R. CIV. P. 41(a) AND 23.1(c) WITHOUT PREJUDICE
